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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DANIEL FASSETT, et al.,                               No. 4:15-CV-00941

              Plaintiffs.                             (Judge Brann)

       v.

SEARS HOLDINGS CORPORATION,
et al.,

             Defendants.

                            MEMORANDUM OPINION

                                    JULY 20, 2018

       There are five motions pending before the Court. The first, a Motion for

Summary Judgment filed by Kenmore Craftsman Diehard Intellectual Property,

LLC (“KCD”),1 will be granted. The second, a Motion for Summary Judgment

filed by Bemis Manufacturing Company,2 will be denied. The third, a Motion for

Summary Judgment filed by Briggs & Stratton Power Products Group, LLC,3 will

be granted in part and denied in part. The fourth, a Motion to Exclude certain




1
    ECF No. 135.
2
    ECF No. 137. This motion was joined in by Sears Holdings Corporation; Sears, Roebuck
    and Co., and Sears Authorized Hometown Stores LLC.
3
    ECF No. 139.
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expert testimony,4 will be denied. And the fifth, a motion to permit the filing of

certain supplemental expert testing,5 will be denied as moot.

I.         BACKGROUND

           On May 16, 2013, Plaintiff Daniel Fassett was moving his lawn when the

Craftsman riding lawnmower he was using began to “spit and sputter.”6 He took

the mower to his garage, lifted its seat to view the engine, and saw that the

mower’s gas tank had expanded far beyond its usual size.7 Perhaps hoping to

release the pressure, Mr. Fassett began to unscrew the gas cap.8 As he was doing

so, however, fuel from the tank began spraying out.9 Although he tried to run

away, the fuel quickly ignited and Mr. Fassett was grievously injured.10

           On May 13, 2015, Mr. Fassett and his wife Leslie initiated the instant suit

against Defendants. Their Complaint contains claims for negligence (Count I),

strict products liability (Count II), breach of warranty (Count III), gross

negligence, recklessness, and malice (Count IV), loss of consortium (Count V),



4
     ECF No. 143. This motion was also joined in by Sears Holdings Corporation; Sears,
     Roebuck and Co., and Sears Authorized Hometown Stores LLC.
5
     ECF No. 178.
6
     Deposition of Daniel Fassett (ECF No. 141-1) at 63, 74.
7
     Id. at 75.
8
     Id. at 76.
9
     Id.
10
     Id. at 77-78.


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and negligent infliction of emotional distress (Count VI).11 On November 9, 2015,

Briggs & Stratton filed a third-party complaint against Bemis Manufacturing

Company—the manufacturer of the mower’s gas cap—for indemnification and

contribution.12

II.      DISCUSSION

         A.      Briggs’s Motion to Exclude the Testimony of the Fassetts’ Experts

         Briggs argues that the testimony of Thomas Berry—one of the Fassetts’

experts—should be excluded under Federal Rule of Evidence 702.13

         According to Mr. Berry’s May 1, 2017 report, Mr. Fassett’s injuries were

caused by “the failure of the [mower’s] fuel venting system.”14 Specifically, Mr.

Berry opines that, as designed, the mower’s fuel tank “receive[d] significant

heating from the engine due to its positioning close to the hot engine components,”

which led to a dangerous increase in the temperature and pressure of the gasoline

in the tank. Although the tank was equipped with a cap whose purpose was to vent

any excess pressure, Mr. Berry believes that the cap on Mr. Fassett’s mower did

11
      ECF No. 1.
12
      ECF No. 52.
13
      ECF No. 143, 144.
      Briggs’s motion also sought to exclude the expert testimony of Noah Ryder and Ruston
      Hunt. Because those experts’ reports were not considered when ruling on any of the pending
      motions, Briggs’s motion vis-à-vis those experts will be denied as moot. Defendants,
      however, are free to seek exclusion of these experts’ testimony via a motion in limine before
      trial.
14
      May 1, 2017 Expert Report of Thomas Berry (ECF No. 141-15) at 3.


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not operate “as intended,” and that Mr. Fassett’s unscrewing of the fuel cap caused

the “heated and pressurized” gasoline “to be spewed from the” tank.15

            To prepare his report, Mr. Berry conducted testing on a Sears Craftsman

ZT7000 mower—the same model used by Mr. Fassett on the day of his injuries.16

The testing revealed that, “if the gas cap [on that mower] does not allow venting,”

the gasoline in the tank “can achieve temperatures of more than 120 degrees

[Fahrenheit] and pressures of more than 7 psi,” which “conditions are sufficient to

cause a geyser or eruption of gasoline from the tank when the gas cap is

loosened.”17 Mr. Berry, however, did not attempt to replicate actual geysering on

the test mower;18 as a result, Briggs argues that Mr. Berry’s testimony should be

excluded as “unreliable” and for “fail[ure] to fit the facts of this case.”19

            Under Federal Rule of Evidence, this Court has a “basic gatekeeping

obligation” to ensure that expert testimony is both relevant and reliable.20

Relevancy is measured by the testimony’s ability to “assist the trier of fact.”21

Reliability, in turn, depends on whether the testimony is “based on the methods


15
     Id.
16
     Id.
17
     Id..
18
     Deposition of Thomas Berry (ECF No. 141-17) at 116 (“I won’t do that test.”)
19
     Brigg’s Brief in Support of Its Motion to Exclude (ECF No. 144) at 7, 10.
20
     Kumho Tire Co., Ltd. V. Carmichael, 526 U.S. 137, 147 (1999).
21
     Calhoun v. Yamaha Motor Corp., U.S.A., 350 F.3d 316, 321 (3d Cir. 2003).


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and procedures of science rather than on subjective belief or unsupported

speculation.”22 Both of these requirements are viewed in light of the “strong and

undeniable preference for admitting any evidence having some potential for

assisting the trier of fact.”23

           Briggs points to no authority showing that an expert must attempt to

replicate a dangerous, potentially life-threatening phenomenon in order to testify

about the possibility of its occurrence—nor has this Court found any.24 Therefore,

Mr. Berry’s testimony will not be excluded on this ground. Since Briggs does not

take issue with any other aspect of Mr. Berry’s procedures, conclusions, or

opinions, its motion to exclude his testimony will be denied.

           B.    Briggs’s Motion for Summary Judgment

           In its Motion for Summary Judgment, Briggs argues that judgment should be

granted in its favor (1) because the Fassetts spoliated evidence after the incident

occurred; (2) because there is some evidence that the Fassetts may have modified

the mower before the date of the accident, which modification constituted a

superseding cause of Mr. Fassett’s injuries; and (3) because there is insufficient




22
     Id.
23
     United States v. Velasquez, 64 F.3d 844, 849 (3d Cir. 1995).
24
     But see July 19, 2017 Expert Report of Noah Ryder (ECF No. 141-14) at 11 (attempting—
     but failing—to replicate a gasoline geysering from the mower).


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evidence to support the Fassetts claims for strict products liability, negligence, or

breach of warranty.

                Whether the Fassetts Spoliated Evidence

        Briggs argues that the Fassetts spoliated important evidence—namely, the

mower—and that, as a result, summary judgment should be granted in its favor.

        After the accident occurred, the Fassetts stored the lawnmower for some

time before sending it to be examined and analyzed by an engineering firm

retained by their insurer.25 After that inspection was complete, the insurer offered

to return the mower, but Mrs. Fassett decided that she “didn’t need the memory”

and declined to take it back.26 As a consequence, the mower was apparently

destroyed. Needless to say, none of the experts retained by the parties have had the

opportunity to examine the mower in person, and have had to rely on photographs

of it taken by the insurer’s engineers.

        In order to find that the Fassetts spoliated the subject evidence, this Court

must first find that “there has been actual suppression or withholding of

evidence”—i.e., that the Fassetts “acted in bad faith” when they chose to dispose

of the mower.27 The evidence supports no such finding. Mrs. Fassett declined



25
     Deposition of Leslie Fassett (ECF No. 141-11) at 31.
26
     Id. at 30-32.
27
     Bull v. United Parcel Service, Inc., 665 F.3d 68, 73, 77 (3d Cir. 2012).


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return of the mower in September 2013,28 more than a year and a half before this

lawsuit was filed, and there is no indication that she was preparing for, or even

contemplating, legal action against anyone at that time. Therefore, this Court will

not conclude that she deliberately “suppress[ed] or with[e]ld[]” anything from

anyone, and will deny Briggs’s motion for summary judgment on spoliation

grounds.

               Whether Modifications to the Mower Constituted the Superseding
               Cause of Mr. Fassett’s Injury

        Briggs argues that Mr. Fassett’s mower was modified prior to the accident,

and that such modifications were responsible for the overheating of the mower’s

fuel tank—i.e., that such modifications were the superseding cause of Mr. Fassett’s

injury, relieving Briggs of its liability.

        In photographs taken by the insurer’s engineer, it appears that certain

components of the Fassett’s mower are missing.29 These components—identified

as a “shroud” and a “heat shield”—were, according to Briggs, intended to prevent

the transfer of heat from the engine and the exhaust system. Their removal,

Briggs’s argument goes, was unforeseeable, and resulted in an increased transfer of

heat to the Fassett’s fuel tank, which was the actual cause of the accident and Mr.



28
     State Farm Records (ECF No. 158-7) at Page 5-6.
29
     Expert Report of Harri Kytomaa (ECF No. 141-7) at 25-32.


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Fassett’s injury.       The Fassetts deny making any such modification to their

mower.30

        There are a number of ways a reasonable jury can interpret this evidence. It

could find that the components were missing when the Fassetts purchased the

mower. It could find that the components were present at the time of purchase but

removed by the Fassetts or someone else (the insurer’s engineer, perhaps). Or,

most importantly to this Court, it could find that the accident would have occurred

even if those components were in place.31 In any event, the “determination of

whether an act is so extraordinary as to constitute a superseding cause is normally

one to be made by the jury,”32 and it will remain so here. Therefore, this Court will

deny Briggs’s motion for summary judgment on superseding cause grounds.

                Whether the Fassetts Have Produced Sufficient Evidence to Support
                their Strict Products Liability Claim

        Briggs argues that the Fassetts have not produced evidence from which a

jury could find in their favor on their strict products liability claims. However, in

his May 1, 2017 report, Mr. Berry concludes that the mower was defectively

designed,33 defectively manufactured,34 and accompanied by insufficient

30
     Plaintiffs’ Second Supplemental Responses to KCD’s Interrogatory No. 22 (ECF No. 141-8).
31
     See May 1, 2017 Expert Report of Thomas Berry at 3 (finding, after testing an unmodified
     mower, that “conditions are sufficient to cause a geyser or eruption of gasoline from the
     tank”).
32
     Powell v. Drumheller, 539 Pa. 484, 495 (1995).
33
     Id. (finding that the mower was “defective in design”).


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warnings.35 Because a reasonable jury could credit Mr. Berry’s opinion—and

therefore hold that the mower was defective36—summary judgment on this ground

will be denied.

                Whether the Fassetts Have Produced Sufficient Evidence to Support
                Their Negligence Claim

        Briggs argues that the Fassetts have not produced evidence from which a

jury could find in their favor on their negligence claim. Specifically, Briggs argues

that there is no evidence that the mower was defective when it left Briggs’s hands,

or that Briggs failed to exercise due care. Once again, Mr. Berry’s May 1, 2017

report provides the necessary support to the Fassetts. Not only does that report

opine that the mower was defective, see supra, but it also indicates Mr. Berry’s

belief that the mower was “negligently designed.”37 Again, a reasonable jury could




     A design defect claim may be based on a “consumer expectations” theory or a “risk-utility”
     theory. Tincher v. Omega Flex, Inc., 628 Pa. 296, 286 (2014). Mr. Berry’s opinion supports
     a finding of liability on either theory. See May 1, 2017 Expert Report of Thomas Berry at 10
     (“The design of the gasoline tank and fuel cap failed to meet a risk/utility/benefit test . . . .”);
     id. at 11 (“Owners, operators[,] and users of the . . . mower . . . would not expect the machine
     to be as dangerous as it was.”). Therefore, this Court need not—and therefore does not—
     determine whether the Fassetts may proceed under both theories or only one of them.
34
     Id. (finding that the “failure of the fuel cap to provide adequate venting” was “due to . . .
     manufacturing defect”).
35
     Id. (finding that defendants “failed to provide adequate warnings and instructions to the
     buyers and operators of the mower”).
36
     Dorshimer v. Zonar Systems, Inc., 145 F. Supp. 3d 339, 351 (M.D. Pa. 2015) (“Three types
     of defective conditions that can give rise to a products liability claim are design defect, defect
     in manufacturing[,] and defect due to inadequate or lack of warnings.”).
37
     May 1, 2017 Expert Report of Thomas Berry at 10.


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credit this opinion and hold that Briggs breached its duty to the Fassetts. Summary

judgment on this claim will therefore be denied.

              Whether the Fassetts Can Sustain Their Breach of Warranty Claim

        Briggs argues that the Fassetts cannot sustain their breach of warranty claim

because they have not identified any express warranty breached by Briggs, and

because there is no evidence that Briggs breached the implied warranty of

merchantability—i.e., no evidence that the mower was defective.

        Because the Fassetts have not identified any express warranty allegedly

breached by Briggs, summary judgment will be granted on their breach of warranty

claim to the extent that claim is based on breach of an express warranty. However,

as discussed supra, there is sufficient evidence to show that the mower was

defective. Therefore, summary judgment will be denied on the Fassetts’ breach of

warranty claim to the extent that claim is based on breach of the implied warranty

of merchantability.

        C.    KCD’s Motion for Summary Judgment

        The Fassetts do not oppose KCD’s Motion for Summary Judgment.38

Therefore, it will be granted.




38
     ECF No. 155.


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           D.    Bemis’s Motion for Summary Judgment

           Bemis—the company that manufactured the fuel cap that Briggs integrated

into the Fassetts’ mower—moves for summary judgment on the third-party

complaint filed by Briggs against Bemis for indemnification and contribution. In

support of its motion, Bemis argues that there is no evidence showing that the cap

was defectively designed or manufactured, or that it lacked adequate warnings.

           In his May 1, 2017 report, Mr. Berry indicated that “the most likely cause of

the eruption of gasoline from the [fuel tank] was a failure of the gas cap to vent as

intended,”39 and that this could have occurred either because of a design defect40 or

because of a manufacturing defect.41                     Mr. Berry also opined that “[t]he

manufacturer . . . failed to provide adequate warnings . . . with respect to . . . the

need for the gas cap to vent, how to clean or test the gas cap to assess if it was

venting, [and] the need to replace the gas cap.”42 From this evidence, a jury could

find that Bemis’s cap was either partially or completely responsible for the injury

that befell Mr. Fassett. Therefore, Bemis’s motion will be denied.




39
     May 1, 2017 Expert Report of Thomas Berry at 3.
40
     Id. at 10 (“The defects in the design of the gasoline tank, fuel system[, and] fuel cap were
     present in the components when they left the” Defendants’ control.”).
41
     Id. (“The hazard in this instance is . . . due to the failure of the fuel cap to provide adequate
     venting . . . due to . . . manufacturing defect.”).
42
     Id.


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       E.     The Fassetts’ Motion to Supplement the Record

       The Fassetts moved to supplement the record with certain expert testing

results.    Because this Court did not rely on those results when resolving the

pending motions, it will deny the Fassetts’ motion as moot.

III.   CONCLUSION

       For the reasons discussed above, this Court will grant KCD’s Motion for

Summary Judgment but deny Bemis’s Motion for Summary Judgment and

Briggs’s Motion to Exclude. Briggs’s Motion for Summary Judgment will be

granted in part and denied in part. And the Fassetts’ motion to supplement the

record will be denied as moot. An appropriate Order follows.



                                               BY THE COURT:



                                               s/ Matthew W. Brann
                                               Matthew W. Brann
                                               United States District Judge




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